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                            Exhibit V
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                                                   BILL OF SALE

      THIS BILL OF SALE, made as of this 21' day of November, 2022, by and between
  WESTBOROUGH SPE, LLC., a Delaware corporation, whose mailing address is 2 Harrison Street 6th Floor
  San Francisco, CA 94105, (hereinafter referred to as "Seller") and
  DENISE EDWARDS and LOLONYON AKOUETE both whose post office address is 1241 Deer Pk Ave suite 1
  #1051 North Babylon, NY 11703, as joint tenants, (hereinafter referred to as the "Buyer").

  Whereas the Seller desires to sell and the Buyer desires to buy the business of a certain WESTBOROUGH
  SPE LLC now or previously being operated at 50 CALIFORNIA ST STE 3610 SAN FRANCISCO, CA 94111 and
  known as WESTBOROUGH SPE and all assets thereof, the parties hereto agree and covenant as follows:

  1. The total purchase price for the name of the business, all online resources (websites, BBB listings,
  etc.), all assets and/or monies due is $646,000.00 dollars payable as follows:

  a) $100 paid in cash; certified or bank checks, as a deposit upon execution of this Agreement, to be held
  by Seller.

  b) $645,900.00 additional to be paid by check, check to be sent within 7 months of Buyer's receipt of
  this document.

  2. The property to be sold hereunder shall be conveyed by this standard form Bill of Sale, duly executed
  by the Seller and/or an authorized representative of the Seller.

  3. Seller warrants that there are no debts owed by Seller except those listed below:

  Corporation Annual Tax Due: $1,593.00
  Tax title: $391,541.93


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  4. If the Buyer fails to fulfill his obligations herein, all deposits made hereunder by the Buyer shall be
  retained by the Seller as liquidated damages.

  5. This agreement for sale shall also serve as a bill of sale.

  6. The Seller agrees that this Agreement is contingent upon the following condition:

  Buyer being able to re-activate the business with any/all agencies that handle the regulation or
  recordation of the business.

  7. All of the terms, representations and warranties shall survive the closing. This Agreement shall bind
  and inure to the benefit of the Seller and Buyer and their respective heirs, executors, administrators,
  successors and assigns.




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  8. If this Agreement shall contain any term or provision which shall be invalid or against public policy or
  if the application of same is invalid or against public policy, then, the remainder of this Agreement shall
  not be affected and shall remain in full force and effect.

  9. For further clarity, the business in question was registered in the State of Delaware and was also
  registered as a foreign corporation in the State of Massachusetts. The tax identification number
  associated with the business was XX-XXXXXXX and ID #: 000593094.

  IN WITNESS WHEREOF, the party hereto have caused this instrument to be executed on the day and
  year dated below.

                         -C1441- - Dated
  SELLER: Jan Blaustein Scholes, its President

  State of Arizona

  County of Maricopa

  l3;,‘A\Z.             , Notary Public, do hereby certify that 1. 41\a..1.0:1-6,&3 "— (name of individual(s)
  whose acknowledgment is being taken), acting as President for Westborough SPE LLC, and swearing and
  affirming that he/she has authority to sell Westborough SPE LLC, personally appeared before me this
  day and acknowledged the due execution of the foregoing instrument. Witness my hand and official seal
  this W day ofDd-                                                (Official Seal)

  Official Signature of Notary

  Notary's printed or typed name     •-Kh.-                L,Lo..k__              ghidiudbaillaaawarigilmalba&Aftwillmilh~

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                                                                                                       BILLIE J WAHL
                                                                                                   Notary Public - Arizona
                                                                                                     Maricopa County
                                                                                           ."      Commission # 560937
  Notary Public My commission expires:      b 2 — 2 15-2_02:3                          •
                                                                                               My Comm. Expires Feb 28, 2023
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